          Case 7:17-cv-00449-CS Document 1 Filed 01/20/17 Page 1 of 27




  UNITED STATES DISTRICT COURT FOR
  THE SOUTHERN DISTRICT OF NEW YORK


  KING ZAK INDUSTRIES, INC.,


                                          Plaintiff,

          v.                                                          Civil No.: 17-CV-449

  PARAMONT GLOBAL LTD,
  WEVEEL LLC, NINGBO EVERGREAT
  IMPORT and EXPORT CO., LTD.,
  and CHINA EXPORT & CREDIT
  INSURANCE CORPORATION
  A/K/A SINOSURE,



                                          Defendants.



                                         COMPLAINT

               King Zak Industries, Inc. (“King Zak”), by and through its attorneys Hodgson

Russ LLP, alleges for its complaint:


                                       NATURE OF THE ACTION

               1.     This action arises out of King Zak’s purchase of plastic plates and bowls

from Paramont Global LTD (“Paramont”), which were defective when delivered, failed to

conform to approved samples, and resulted in King Zak having to obtain replacement goods at

significantly higher prices to mitigate its damages. Paramont then filed an insurance claim with

China Export & Credit Insurance Corporation a/k/a Sinosure (“Sinosure”), improperly claiming

that King Zak had not paid its invoices; Sinosure has downgraded King Zak’s credit rating in

China, threatened to block any exports from China to King Zak as a result of this dispute, and
          Case 7:17-cv-00449-CS Document 1 Filed 01/20/17 Page 2 of 27




improperly interfered with King Zak’s relationships with other manufacturers in China by

claiming that King Zak does not pay its invoices.


                                  PARTIES AND JURISDICTION

KING ZAK

               2.     King Zak is a New York corporation with its principal place of business at

3 Police Drive, Goshen, New York 10924.


               3.     King Zak is a manufacturer, distributor, and retailer of products for use in

the party, catering, and industrial areas, including the Lillian Tablesettings®, Hanna K

Signature®, Party Dimensions®, and Nicole Home Collection® product lines.


PARAMONT

               4.     Upon information and belief, Paramont, is a Chinese corporation with its

principal place of business at 3-4 F No 1 Building, Hi Tech Science and Technology Square, No

1498 Jiangnan Road, Ningbo, China 315040 and it also maintains an office at 67 Mody Road

Tsim Sha Tsui East, Kowloon, Hong Kong, China.



               5.     Upon information and belief, Yongping “William” Yang is the Chief

Executive Officer of Paramont, Michael Pecci is an officer and director of Paramont, and Joseph

DiPalma is an officer and director of Paramont.


               6.     Upon information and belief, Michael Pecci is a resident of the United

States and resides in Millstone, New Jersey.




                                               -2-
          Case 7:17-cv-00449-CS Document 1 Filed 01/20/17 Page 3 of 27




               7.      Upon information and belief, Joseph DiPalma is a resident of the United

States and resides in Yardley, Pennsylvania.


               8.      Upon information and belief, Caitlin Park Kelly is a Vice-President with

Paramont who works out of its USA Branch Office at 60 East Bridge Street, Suite 2, Morrisville,

Pennsylvania 19067, utilizes an office telephone number of (267) 797-5436, and a cell phone

number issued in the United States.


               9.      Paramont advertises itself as a leading manufacturer, exporter, and

supplier of, among other things, stationary and party products.


               10.     Paramont claims that it “operates two wholly owned factories in Ningbo,

China and has an established customer base from [sic] that spans 45 countries on five

continents.”


               11.     Paramont also advertises that it has “US and Asian product teams” who

“work closely with both purchasers and the factories throughout the entire product development

lifecycle to ensure that project costs and timeline objectives are met.”


               12.     Paramont advertises that it “combines US direct innovation with factory

direct costs to elevate your private label programs.”


               13.     According to its website, paramontglobal.com, Paramont maintains a

“Global Design & Innovation Center based in the USA.”




                                                -3-
          Case 7:17-cv-00449-CS Document 1 Filed 01/20/17 Page 4 of 27




               14.     Paramont also states on its website that its “Global OEM/Private Label

partners include: Walmart (US/Canada), ASDA, Tesco, Dollar Tree, Family Dollar, Dollarama,

K-Mart, Big Lots, and more.”


               15.     Paramont identifies its customers as including: Costco Wholesale,

Michaels, Staples, Target, ToysRUs, Office Depot, Party City, and BJ’s Wholesale Club.


               16.     Paramont boasts of its distribution network, claiming that it “distributes

product in 54 countries globally through regional sales and distributors located in the U.S.A.,

U.K., Ireland, Europe, Australia, Canada, and China.”


               17.     Paramont specifically identifies a distribution center in Dallas, Texas and

a Design & Innovation center in Philadelphia, Pennsylvania on its website.


               18.     Upon information and belief, an affiliate of Paramont, Ningbo Paramont

Import & Export Co., Ltd., has filed for trademark protection for the word mark SUGAR RUSH,

with the United States Patent and Trademark Office.


               19.     Paramont has availed itself of the benefits and protections of the United

States legal system.


WEVEEL

               20.     On Paramont’s website it has a link to WeVeel LLC’s website,

weveel.com, which automatically links to scentos.com, which is one of WeVeel LLC’s

tradenames.




                                               -4-
          Case 7:17-cv-00449-CS Document 1 Filed 01/20/17 Page 5 of 27




               21.     Upon information and belief, WeVeel LLC (“WeVeel”) is a Delaware

limited liability company with its principal place of business currently at 20 North Pennsylvania

Avenue, Morrisville, Pennsylvania 19067, but until recently it was at 60 East Bridge Street, Suite

2, Morrisville, Pennsylvania 19067—the same location as Paramont’s “USA Branch Office.”


               22.     Upon information and belief, the same Michael Pecci who is an officer

and director of Paramont, is the managing member of WeVeel.


               23.     Upon information and belief, Joel Chiapelli is the Art Director for

WeVeel.


               24.     Upon information and belief, Joel Chiapelli is United States citizen who

resides in the Philadelphia area.


               25.     WeVeel advertises that it has a Year Round Showroom at 67 Mody Road,

Tsim Sha Tsui East, Kowloon, Hong Kong, China—the same address Paramont uses in Hong

Kong.


               26.     WeVeel also advertises that it has its China Headquarters at 3-4 F, No. 1

Building, HI-Tech Science & Technology Square, No. 1498, Jiangnan Road, Ningbo, China

315040—the same address as Paramont’s headquarters.


               27.     WeVeel advertises its phone number as (267) 797-5436—the same phone

number Paramont uses for its “USA Branch Office.”


               28.     WeVeel owns a United States federal trademark registration for the marks

SCENTOS, U.S. Registration No. 4046915 and SUGAR RUSH, U.S. Registration No. 4046915.

                                               -5-
          Case 7:17-cv-00449-CS Document 1 Filed 01/20/17 Page 6 of 27




               29.    On its website, WeVeel advertises products under the Scentos and Sugar

Rush tradenames.


               30.    Upon information and belief, WeVeel is an alter ego or agent of Paramont.


EVERGREAT

               31.    Upon information and belief, Ningbo Evergreat Import and Export Co.,

Ltd. (“Evergreat”) is a Chinese corporation with its principal place of business in Ningbo, China.


               32.    Evergreat advertises on its website, evergreat.cn, that it is an export

company focusing on the export of, among other things, party and stationary items to more than

50 countries and regions across the world.


               33.    Evergreat states that it consists of seven subsidiaries and one factory.


               34.    One of the divisions, or subsidiaries, that Evergreat identifies on its

website is the Weveel Business Division.


               35.    Evergreat advertises its “partners” as being: Darice, Target, Walmart,

Staples, Michaels, Hobby Lobby, Dollar Tree, Galt, Unique Industries, Inc., Big Lots!, BJ’s

Wholesale Club, ASDA (part of the Walmart family), Kmart, Costco Wholesale, Cora, GiFi,

Anker International, Artwrap Pty. Ltd., Jo-Ann Fabric and Craft Stores, and Tesco.


               36.    On its website, Evergreat boasts that it is the exclusive supplier to

WeVeel, one of America’s fastest growing companies.




                                               -6-
           Case 7:17-cv-00449-CS Document 1 Filed 01/20/17 Page 7 of 27




               37.     Upon information and belief, the same Yongping “William” Yang who is

the Chief Executive Officer of Paramont, is also the General Manager of Evergreat.


               38.     Evergreat’s headquarters is at 3-4 F, No. 1 Building, Hi-Tech Science &

Technology Square, No. 1498, Jiangnan Road, Ningbo, China—the same address as Paramont’s

headquarters and WeVeel’s Chinese headquarters.


               39.     Evergreat has filed for trademark protection of the word marks SCENTOS

and WEVEEL with the United States Patent and Trademark Office.


               40.     Evergreat has availed itself of the benefits and protections of the United

States legal system.


               41.     Upon information and belief, WeVeel and Paramont are alter egos or

agents of Evergreat.


               42.     Upon information and belief, Evergreat, Paramont, and WeVeel regularly

conduct business in the State of New York, and specifically in the area that comprises the United

States District Court for the Southern District of New York.


SINOSURE

               43.     Upon information and belief, Sinosure is a Chinese corporation with its

principal place of business at Fortune Times Building, 11 Fenghuiyuan, Xicheng District,

Beijing, China, 100033.




                                               -7-
          Case 7:17-cv-00449-CS Document 1 Filed 01/20/17 Page 8 of 27




               44.     Sinosure is an insurance company funded and owned by the Chinese

government which was established for the purpose of promoting “Chinese exports of goods,

technologies, and services,” “by means of export credit insurance against non-payment risks.”


               45.     Sinosure owns United States federal trademark registrations for the marks

SINO SURE, U.S. Registration No. 4561743 and SINOSURE, U.S. Registration No. 3322056,

and has designated James M. Slattery from Birch Steward Kolasch & Birch LLP, P.O. Box 747,

Falls Church, Virginia, as its domestic representative.


               46.     Sinosure has sued, and been sued, in various United States District Court’s

throughout the United States.


               47.     Sinosure has availed itself of the benefits and protections of the United

States legal system.


               48.     Upon information and belief, Sinosure regularly conducts business in the

State of New York, and specifically in the area that comprises the United States District Court

for the Southern District of New York.


               49.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331

and § 1332 because the contracts between the parties are governed by the United Nations

Convention on Contracts for the International Sale of Goods (“C.I.S.G.”), and the parties are

citizens of different states/countries and the amount in controversy exceeds $75,000 (USD).


               50.     This Court has personal jurisdiction over Paramont because it entered into

a contract with King Zak in this District to manufacture and deliver certain goods to King Zak in


                                               -8-
          Case 7:17-cv-00449-CS Document 1 Filed 01/20/17 Page 9 of 27




this District, and for King Zak to pay for those goods from its headquarters, which are located in

this District. In addition, the Court has personal jurisdiction over Paramont because, upon

information and belief, it has committed a tort outside the State of New York that has had its

effects within the State and it, or its alter egos/agents WeVeel and Evergreat, regularly do and

solicit business from New York, engage in a persistent course of conduct in New York, derive

substantial revenue from the sale of goods in New York, and/or derive substantial revenue from

international commerce.


               51.    This Court has personal jurisdiction over WeVeel because it is the agent

and/or alter ego of Paramont and Evergreat and it transacts business within New York and

contracts to supply goods in New York. In addition, the Court has personal jurisdiction over

WeVeel because it and/or its agents/alter egos Paramont and Evergreat committed a tort outside

New York that has had its effects within the State and it regularly does and solicits business from

New York, engages in a persistent course of conduct in New York, derives substantial revenue

from the sale of goods in New York, and/or derives substantial revenue from international

commerce.


               52.    This Court has personal jurisdiction over Evergreat because it and/or its

agents and/or alter egos Paramont and WeVeel, transact business within New York and

contracted to supply goods in New York. In addition, the Court has personal jurisdiction over

Evergreat because it and/or its agents/alter egos Paramont and WeVeel committed a tort outside

New York that has had its effects within the State and it regularly does and solicits business from

New York, engages in a persistent course of conduct in New York, derives substantial revenue



                                               -9-
         Case 7:17-cv-00449-CS Document 1 Filed 01/20/17 Page 10 of 27




from the sale of goods in New York, and/or derives substantial revenue from international

commerce.


               53.     This Court has personal jurisdiction over Sinosure because it has taken an

assignment of Paramont’s purported claims against King Zak and is attempting to pursue those

claims against King Zak in New York.


               54.     Venue in this District is proper under 28 U.S.C. § 1391(b)(2) and (3).


                                    FACTUAL BACKGROUND

               55.     As a result of nearly thirty years in the tableware industry, King Zak has

earned an enviable reputation of offering quality products at reasonable pricing featuring the

King Zak trademarks.


               56.     Over its long history, King Zak has worked with many manufacturers in

China and other countries around the world and has achieved a highly respected reputation

throughout the international community.


               57.     Between October 13, 2014 and June 23, 2016, King Zak issued 58

purchase orders to Paramont for various types of plastic plates and bowls to be sold under its

PARTY DIMENSION® and HANNA K® brands. The purchase orders were as follows:

               Purchase Order Number                  Date Placed with Paramont

          PO: 020038                               Placed: 10/13/2014
          PO: 020039                               Placed: 10/13/2014
          PO: 020040                               Placed: 10/13/2014
          PO: 020041                               Placed: 10/13/2014
          PO: 020042                               Placed: 10/13/2014
                                               - 10 -
Case 7:17-cv-00449-CS Document 1 Filed 01/20/17 Page 11 of 27




PO: 020043                      Placed: 10/13/2014
PO: 020044                      Placed: 10/13/2014
PO: 020045                      Placed: 10/13/2014
PO: 020046                      Placed: 10/13/2014
PO: 020047                      Placed: 10/13/2014
PO: 020048                      Placed: 10/13/2014
PO: 020049                      Placed: 10/13/2014
PO: 020050                      Placed: 10/13/2014
PO: 020051                      Placed: 10/13/2014
PO: 020052                      Placed: 10/13/2014
PO: 020053                      Placed: 10/13/2014
PO: 020054                      Placed: 10/13/2014
PO: 020055                      Placed: 10/13/2014
PO: 020056                      Placed: 10/13/2014
PO: 020127                      Placed: 11/5/2014
PO: 020409                      Placed: 1/30/2015
PO: 020410                      Placed: 1/30/2015
PO: 020411                      Placed: 1/30/2015
PO: 020412                      Placed: 1/30/2015
PO: 020617                      Placed: 4/2/2015
PO: 020618                      Placed: 4/2/2015
PO: 020886                      Placed: 8/26/2015
PO: 020887                      Placed: 8/26/2015
PO: 020888                      Placed: 8/27/2015
PO: 020889                      Placed: 8/27/2015
PO: 020893                      Placed: 8/27/2015
PO: 020894                      Placed: 8/27/2015
PO: 020895                      Placed: 8/27/2015
PO: 020896                      Placed: 8/27/2015
PO: 020897                      Placed: 8/27/2015
PO: 020898                      Placed: 8/27/2015
PO: 020899                      Placed: 8/27/2015
PO: 020900                      Placed: 8/27/2015
PO: 020901                      Placed: 8/27/2015
PO: 021014                      Placed: 9/22/2015
PO: 021159                      Placed: 11/24/2015
PO: 021160                      Placed: 11/24/2015
                            - 11 -
         Case 7:17-cv-00449-CS Document 1 Filed 01/20/17 Page 12 of 27




          PO: 021161                             Placed: 11/24/2015
          PO: 021162                             Placed: 11/24/2015
          PO: 021163                             Placed: 11/24/2015
          PO: 021164                             Placed: 11/24/2015
          PO: 021165                             Placed: 11/24/2015
          PO: 021262                             Placed: 11/30/2015
          PO: 021263                             Placed: 11/30/2015
          PO: 021485                             Placed: 2/25/2016
          PO: 021486                             Placed: 2/25/2016
          PO: 021487                             Placed: 2/25/2016
          PO: 021488                             Placed: 2/25/2016
          PO: 021489                             Placed: 2/25/2016
          PO: 021490                             Placed: 2/25/2016
          PO: 021491                             Placed: 2/25/2016
          PO: 021611                             Placed: 4/8/2016
          PO: 021844                             Placed: 6/23/2016


              58.     In total, King Zak received 100,944 cases of goods from Paramont and

paid $2,249,351 (USD) for those goods.


              59.     Prior to issuing the purchase orders, King Zak provided product

specifications to Paramont, Paramont provided samples of the plates and bowls to King Zak, and

King Zak approved the samples.


              60.     Paramont represented that it owned the factory where the samples were

made, that the samples conformed to the specifications provided, that the bulk shipments would

be produced at the same factory, the bulk shipments would be the same as the samples, and the

goods would be manufactured from food grade materials.


              61.     Paramont also provided a Letter of Guarantee to King Zak stating that:

“Here we Paremont Global Ltd. guarantee that the material of the clear plastic plates and bowls


                                             - 12 -
         Case 7:17-cv-00449-CS Document 1 Filed 01/20/17 Page 13 of 27




white & color plastic plates and bowls which we sell to King Zak, are food grade materials.

They’re acceptable for food use. If any problem of material, we’ll bear all responsibility.”


                 62.   In February 2015, Paramont began to ship the goods to King Zak in

Goshen, New York with payment terms of “DDP”, which is an Incoterm that means “Delivered

Duty Paid” and requires the seller to deliver the goods to the named place in the country of

importation, i.e. Goshen, New York.


                 63.   To coordinate its orders and shipments, King Zak communicated, through

a broker, with representatives from Evergreat.


                 64.   On May 28, 2015, a meeting was held at King Zak’s offices in Goshen,

New York.


                 65.   William Yang was at the meeting on behalf Paramont and provided King

Zak with a business card that identified himself as the GM/President of Evergreat.


                 66.   “Ben” was at the meeting on behalf of Paramont and provided King Zak

with a business card that identified himself as an Executive Vice-President of Paramont and

identified Paramont’s “USA Branch Office” as being at 1128 Blue Mound Road West, Suite 204,

Haslet, Texas.


                 67.   John Yu was also at the meeting on behalf of Paramont and he provided

King Zak with a business card that identified himself as the Supply Chain Director for Paramont

and listed the same “USA Branch Office” address in Texas.




                                                 - 13 -
          Case 7:17-cv-00449-CS Document 1 Filed 01/20/17 Page 14 of 27




               68.    And finally, Michael Pecci was also at the meeting on behalf of Paramont

and he provided King Zak with a business card from WeVeel.


               69.    At the May 28, 2015 meeting, Paramont again represented that the

samples were manufactured at its factory, King Zak’s orders were being manufactured at the

same facility, were of the same quality as the samples, and were made of food grade materials.


               70.    King Zak relied on Paramont’s representations that the goods would be

manufactured at the same facility as the samples, be of the same quality as the samples, and be

made of food grade materials.


               71.    Paramont received the King Zak purchase orders identified in paragraph

47 above, retained them without objection or modification, and attempted to perform by filling

the orders.


               72.    However, Paramont breached its agreement with King Zak by providing

inferior products that were defective, failed to conform to the approved samples, and were not

made of food grade materials.


               73.    Moreover, the goods received were not sanitary when delivered in

Goshen, New York and were unmerchantable.


               74.    In recognition of its breach, Paramont provided certain credits to King Zak

toward the purchases and promised to rectify the manufacturing problems but, as addressed

below, the problems were not rectified.




                                              - 14 -
          Case 7:17-cv-00449-CS Document 1 Filed 01/20/17 Page 15 of 27




                75.    King Zak later learned that Paramont’s representation that the samples and

goods were, and would be, manufactured at its facility was false. Upon information and belief,

the samples were manufactured at one facility and the bulk production was manufactured

predominantly at second facility; neither facility was solely or wholly owned by Paramont.


                76.    Paramont also learned that some of the materials being used to

manufacture the goods were not food safe.


                77.    As a result of receiving defective merchandise from Paramont, King Zak

received many consumer complaints associated with the products and at least two consumers

suffered personal injuries associated with use of the defective products.


                78.    After receiving the customer complaints, King Zak engaged in good-faith

efforts to resolve the issues with Paramont, but without success.


                79.    On May 11, 2016, a meeting was held at King Zak’s Goshen, New York

offices with JP Morgan from WeVeel and Hongjing Deng, who said she worked for Paramont

and WeVeel.


                80.    During the meeting, Mr. Morgan and Ms. Deng inspected the defective

goods that had been provided by Paramont and agreed that the goods were defective.


                81.    Mr. Morgan and Ms. Deng represented that they were preparing a report

for Paramont.




                                               - 15 -
         Case 7:17-cv-00449-CS Document 1 Filed 01/20/17 Page 16 of 27




               82.    Following the meeting, King Zak had a number of follow-up

communications with Paramont/Evergreat/WeVeel regarding the report and seeking a resolution

to the problem.


               83.    Defendants admitted that certain goods were manufactured from polyvinyl

chloride (“PVC”), not polystyrene; PVC is not food grade material.


               84.    On June 29, 2016, Caitlin Park Kelly from Paramont/WeVeel and Michael

Pecci visited King Zak’s office in Goshen, New York to discuss the problems.


               85.    Ms. Kelly provided a business card to King Zak at that meeting, holding

herself out to be a representative of Paramont and which indicated that Ms. Kelly worked out of

Paramont’s “USA Branch Office” at 60 East Bridge Street, Suite 2, Morrisville, Pennsylvania

19067—on the back of the card was WeVeel’s logo.


               86.    At the meeting, Ms. Kelly acknowledged that Paramont’s goods were non-

conforming.


               87.    Ms. Kelly and Mr. Pecci brought a box of “new and improved” samples to

the meeting in an effort to cure Paramont’s breaches, but the samples were brittle and unsellable,

and not in compliance with the approved samples from the beginning of the relationship, so they

withdrew the samples from consideration before the meeting had concluded.


               88.    King Zak attempted to negotiate a final resolution concerning Paramont’s

breaches, but it was unsuccessful.




                                              - 16 -
          Case 7:17-cv-00449-CS Document 1 Filed 01/20/17 Page 17 of 27




               89.     As such, King Zak was forced to make other arrangements with a United

States’ manufacturer to supply the plates and bowls at a premium, in order for King Zak to fill its

outstanding orders.


               90.     King Zak set aside the defective goods received from Paramont, which

was the stock inspected by Mr. Morgan and Ms. Deng, and informed Paramont that it could

retrieve the goods from King Zak’s warehouse; Paramont has not retrieved the goods, so King

Zak has continued to incur storage costs for those goods.


               91.     Recently King Zak learned that in approximately September 2016,

Paramont and/or its affiliates resorted to filing false, defamatory, and libelous claims with its

insurance carrier, Sinosure, alleging that King Zak defaulted on pending invoices and/or refused

to make payment when payment was properly due.


               92.     Sinosure is an entity owned by the Chinese government that provides

export credit insurance to Chinese manufacturers who are exporting their goods internationally.


               93.     As a result of these activities, Sinosure has downgraded King Zak’s credit

rating and reported to King Zak’s other Chinese suppliers that it defaults on payments, resulting

in King Zak’s other suppliers being unwilling to proceed with new orders for goods.


               94.     In addition, as a result of Paramont’s claim, which was assigned to

Sinosure, Sinosure’s Illinois counsel has threatened to block any export of product from China to

King Zak, stating: “Your failure to cooperate may result in restrictions on King Zak’s credit

and an inability to import goods from the People’s Republic of China in the future.”



                                                - 17 -
          Case 7:17-cv-00449-CS Document 1 Filed 01/20/17 Page 18 of 27




                 95.    Sinosure has threatened to commence litigation against King Zak in New

York to collect the claims assigned to it by Paramont if it does not receive payment by the close

of business on January 23, 2017.


                 96.    King Zak has provided voluminous documentation to Sinosure’s counsel

demonstrating that Paramont’s claims are without merit and, in fact, it is the one entitled to relief

from Paramont; but Sinosure has failed and refused to review that documentation.


                 97.    In addition, Sinosure continues to inform King Zak’s Chinese

manufacturers that it defaults on payments and it has maintained a low credit rating for King

Zak, and it has continued to threaten King Zak with litigation in New York.


                 98.    The actions of Sinosure, Paramont, and its agents/alter egos WeVeel and

Evergreat, have interfered with King Zak’s existing and future relationships with its Chinese

manufacturers.


                 99.    King Zak has suffered damage to its reputation, damage to its existing and

future business relationships in China, storage costs, lost sales, cover damages, and other direct

and consequential damages, due to Defendants’ conduct.


                                  FIRST CAUSE OF ACTION
                             (Breach of Contract under the C.I.S.G.)


                 100.   King Zak repeats and realleges the allegations contained in paragraphs 1

through 99 as if fully set forth here.




                                               - 18 -
           Case 7:17-cv-00449-CS Document 1 Filed 01/20/17 Page 19 of 27




                 101.    King Zak provided product specifications, approved samples, and issued

purchase orders for those goods to Paramont.


                 102.    Paramont accepted the purchase orders without objection or modification,

attempted to perform the contracts, and delivered the goods to King Zak in Goshen, New York.


                 103.    King Zak then resold the goods to its customers.


                 104.    After receiving the complaints from its customers, King Zak learned that

the goods failed to conform to the product specifications and approved samples, were not made

of food grade materials, were not shipped in sanitary conditions and, therefore, were not

merchantable.


                 105.    King Zak timely notified Paramont of the non-conformance and attempted

to reach a resolution.


                 106.    When no resolution could be reached, King Zak obtained cover goods to

fulfill its orders.


                 107.    King Zak has suffered at least $285,000 in monetary damages as a result

of Paramont’s breach of the purchase orders.


                                  SECOND CAUSE OF ACTION
                                    (Fraudulent Inducement)


                 108.    King Zak repeats and realleges the allegations contained in paragraphs 1

through 107 as if fully set forth here.



                                                - 19 -
          Case 7:17-cv-00449-CS Document 1 Filed 01/20/17 Page 20 of 27




               109.    Prior to issuing any purchase orders to Paramont, King Zak provided

product specifications to Paramont to produce samples for review and approval.


               110.    Paramont/Evergreat/WeVeel produced samples that were represented to

King Zak to be manufactured at Paramont’s factory and would be the same as the final product

delivered to King Zak.


               111.    Paramont/Evergreat/WeVeel also represented that the goods would be

manufactured with food grade materials.


               112.    King Zak relied on Defendants’ representations and entered into orders

with its customers to provide those goods.


               113.    Defendants’ representations were a material inducement to King Zak to

issue the purchase orders to Paramont.


               114.    Defendants’ representations as to both the quality of the goods and the

manufacturing source were false and, upon information and belief, Defendants knew the

representations were false when they made them.


               115.    King Zak suffered at least $285,000 in monetary damages as a result of

Paramont’s/Evergreat’s/WeVeel’s false representations.


                                  THIRD CAUSE OF ACTION
                                  (Negligent Misrepresentation)


               116.    King Zak repeats and realleges the allegations contained in paragraphs 1

through 115 as if fully set forth here.

                                              - 20 -
          Case 7:17-cv-00449-CS Document 1 Filed 01/20/17 Page 21 of 27




               117.    Prior to issuing any purchase orders to Paramont, King Zak provided

product specifications to Paramont to produce samples for review and approval.


               118.    Paramont/Evergreat/WeVeel produced samples that were represented to

King Zak to be manufactured at its factory and would be the same as the final product delivered

to King Zak.


               119.    Paramont/Evergreat/WeVeel also represented that the goods would be

manufactured with food grade materials.


               120.    King Zak relied on Defendants’ representations and entered into orders

with its customers to provide those goods.


               121.    Defendants’ representations were a material inducement to King Zak to

issue the purchase orders to Paramont.


               122.    Defendants knew or should have known that their representations as to

both the quality of the goods and the manufacturing source were not accurate.


               123.    King Zak suffered at least $285,000 in monetary damages as a result of

Paramont’s/Evergreat’s/WeVeel’s negligent misrepresentations.


                                 FOURTH CAUSE OF ACTION
                                         (Fraud)


               124.    King Zak repeats and realleges the allegations contained in paragraphs 1

through 123 as if fully set forth here.



                                              - 21 -
          Case 7:17-cv-00449-CS Document 1 Filed 01/20/17 Page 22 of 27




               125.    Prior to issuing any purchase orders to Paramont, King Zak provided

product specifications to Paramont to produce samples for review and approval.


               126.    Paramont/Evergreat/WeVeel produced samples that were represented to

King Zak to be manufactured at its facility and would be the same as the final product delivered

to King Zak.


               127.    Paramont/Evergreat/WeVeel also represented that the goods would be

manufactured with food grade materials.


               128.    Paramont/Evergreat/WeVeel continued to represent that the goods were

manufactured at Paramont’s factory at the May 28, 2015 meeting, the May 11, 2016 meeting,

and the June 29, 2016 meeting.


               129.    King Zak relied on Paramont’s representations when entering into orders

with its customers to provide those goods.


               130.    Defendants’ representations were material to King Zak because of the

reputation it has in the market and its intent to resell the product under its tradenames.


               131.    Defendants’ representations as to both the quality of the goods and the

manufacturing source were false and, upon information and belief, Defendants knew the

representations were false when they made them.


               132.    King Zak suffered at least $285,000 in monetary damages as a result of

Paramont’s/Evergreat’s/WeVeel’s fraud.



                                                - 22 -
            Case 7:17-cv-00449-CS Document 1 Filed 01/20/17 Page 23 of 27




                                FIFTH CAUSE OF ACTION
                 (Tortious Interference With Prospective Business Relations)


                133.      King Zak repeats and realleges the allegations contained in paragraphs 1

through 132 as if fully set forth here.


                134.      King Zak has relationships with other Chinese manufacturers to provide

goods for its business.


                135.      King Zak relies upon export of those goods from China to the United

States in order to maintain its business.


                136.      Paramont/Evergreat/WeVeel have intentionally interfered with King Zak’s

relationships with other Chinese manufacturers by submitting a false and fraudulent claim with

Sinosure, alleging that King Zak does not pay its invoices.


                137.      As a result, Sinosure has downgraded King Zak’s credit rating in China,

threatened to stop all exports from China to King Zak, and has contacted other manufacturers in

China who have, or may, work with King Zak to inform them that King Zak does not pay its

invoices.


                138.      Sinosure has continued to contact King Zak’s potential manufacturers, and

threatened to interfere with all exports to it from China, despite receiving voluminous records

from King Zak establishing that it has no liability to Paramont and, rather, it is Paramont who

has breached its contracts and engaged in fraud vis-à-vis King Zak.




                                                 - 23 -
           Case 7:17-cv-00449-CS Document 1 Filed 01/20/17 Page 24 of 27




                 139.    The change in King Zak’s credit rating has caused it to incur additional

costs to purchase and export goods from China to the United States, and if all exports are

stopped, King Zak will incur substantial cost increases to procure the goods from other markets.


                 140.    As a result of Paramont’s/Evergreat’s/WeVeel’s and Sinosure’s tortious

actions, King Zak has incurred at least $500,000 in damages.


                                   SIXTH CAUSE OF ACTION
                                     (Declaratory Judgment)


                 141.    King Zak repeats and realleges the allegations contained in paragraphs 1

through 140 as if fully set forth here.


                 142.    King Zak provided product specifications, approved samples, and issued

purchase orders for those goods to Paramont.


                 143.    Paramont accepted the purchase orders without objection or modification,

attempted to perform the contracts, and delivered the goods to King Zak in Goshen, New York.


                 144.    Upon receipt of complaints from its customers, King Zak learned that the

goods failed to conform to the product specifications, failed to conform to the approved samples,

were not shipped in sanitary conditions and, therefore, were not merchantable.


                 145.    King Zak timely notified Paramont of the non-conformance and attempted

to reach a resolution.


                 146.    When no resolution could be reached, King Zak obtained cover goods to

fulfill its orders.

                                                - 24 -
          Case 7:17-cv-00449-CS Document 1 Filed 01/20/17 Page 25 of 27




               147.    Paramont claims that King Zak failed and refused to pay certain

outstanding invoices for the defective goods.


               148.    Upon information and belief, Paramont filed an insurance claim with its

insurer, Sinosure, to receive payment on those invoices.


               149.    Upon information and belief, Paramont assigned its claims for the

disputed invoices to Sinosure.


               150.    Sinosure has threatened to commence a collections action against King

Zak in New York and stop all exports from China to King Zak as a result of the dispute.


               151.    In addition, Sinosure has contacted King Zak’s current Chinese

manufacturers, and potential Chinese manufactures, to incorrectly inform them that King Zak

does not pay its invoices.


               152.    King Zak has informed Sinosure that it did not breach any agreements

with Paramont as the goods did not conform to the specifications or approved samples, were

delivered in an unsanitary condition, and were unmerchantable.


               153.    There is a justiciable controversy as to whether King Zak owes any

monies under the disputed invoices.


               154.    Pursuant to the Declaratory Judgment Act, 28 U.S.C. section 2201, King

Zak is entitled to a judgment declaring the rights and duties of the parties and, in particular,

declaring that (i) it owes no monies under the disputed invoices, (ii) Sinosure must remove the



                                                - 25 -
          Case 7:17-cv-00449-CS Document 1 Filed 01/20/17 Page 26 of 27




Paramont claim from King Zak’s credit analysis, and (iii) Sinosure shall not interfere with the

export of goods from China to King Zak as a result of the Paramont dispute.


                                SEVENTH CAUSE OF ACTION
                                     (Indemnification)


               155.    King Zak repeats and realleges the allegations contained in paragraphs 1

through 154 as if fully set forth here.


               156.    King Zak disputes that it owes any monies to Sinosure.


               157.    However, in the event a Court were to find that King Zak owes any

monies to Sinosure, it would be due solely to the improper acts of Paramont/Evergreat/WeVeel.


               158.    Accordingly, in the alternative, to the extent King Zak is found liable to

Sinosure, it is entitled to indemnification from Paramont/Evergreat/WeVeel.


               WHEREFORE, King Zak demands judgment as follows:


               a.      On its first cause of action, a money judgment against
                       Paramont/Evergreat/WeVeel;

               b.      On its second cause of action, a money judgment against
                       Paramont/Evergreat/WeVeel;

               c.      On its third cause of action, a money judgment against
                       Paramont/Evergreat/WeVeel;

               d.      On its fourth cause of action, a money judgment against
                       Paramont/Evergreat/WeVeel;

               e.      On its fifth cause of action, a money judgment against
                       Paramont/Evergreat/WeVeel and Sinosure;




                                               - 26 -
              Case 7:17-cv-00449-CS Document 1 Filed 01/20/17 Page 27 of 27




                      f.             On its sixth cause of action, a judgment declaring the rights
                                     and duties of King Zak and Sinosure under 28 U.S.C.
                                     section 2201;

                      g.             On its seventh cause of action, a judgment that to the
                                     extent King Zak owes any monies to Sinosure,
                                     Paramont/Evergreat/WeVeel must indemnify it for those
                                     monies;

                      h.             Costs, disbursements, and attorneys’ fees as allowed by
                                     law; and

                      i.             Such other and further relief as the Court deems proper.

Dated:                January 20, 2017
                                                            HODGSON RUSS LLP
                                                            Attorneys for King Zak Industries, Inc.


                                                            By: /S/ Ryan K. Cummings ___________________
                                                                    Ryan K. Cummings
                                                                    Neil B. Friedman
                                                                    Carmine J. Castellano
                                                            1540 Broadway, 24th Floor
                                                            New York, New York 10036
                                                            Telephone: (212) 751-4300
                                                            Email: ryan_cummings@hodgsonruss.com
                                                            Email: nfriedma@hodgsonruss.com
                                                            Email: ccastellano@hodgsonruss.com




                                                             - 27 -


000161.00769 Litigation 14294714v2
